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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION


 IN RE:                                                   )
                                                          )
 CAH ACQUISITION COMPANY #4, LLC d/b/a                    )     Case No. 19-1228-5-JNC
 DRUMRIGHT REGIONAL HOSPITAL,                             )
                                                          )             Chapter 11
                 Debtor.                                  )
                                                          )

       SUPPLEMENT TO EXHIBIT B OF APPLICATION FOR COMPENSATION

          The law firm of Spilman Thomas & Battle, PLLC (“Spilman”), counsel for the Debtor

 in this case submits this supplement to Exhibit B, attached to the application for compensation

 filed by Spilman in this case (Doc 117).

          Through oversight, Spilman inadvertently omitted from the itemized costs and

 expenses summarized in Exhibit B attached to the fee application the costs from June and July

 2019. The attached supplement summarizes those additional costs, in the total amount of

 $15,359.32. Pursuant to the methodology utilized to attribute one-eighth (1/8) of expenses to

 each of the eight cases for which applications for compensation are pending, the total of costs

 and expenses in this case will increase by $1,919.92, to a total of $4,977.23.

          Dated: November 4, 2019.
                                         SPILMAN THOMAS & BATTLE, PLLC

                                        /s/ Rayford K. Adams III
                                        Rayford K. Adams III (NC State Bar No. 8622)
                                        110 Oakwood Drive, Suite 500
                                        Winston-Salem, NC 27103
                                        Telephone: 336-725-4710
                                        Telefax: 336-725-4710
                                        Email: tadams@spilmanlaw.com
                                        Attorney for the Debtor
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                                  CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing with the Clerk of the

 Court using the CM/ECF system, which will send electronic notification of such filing to all

 registered users of record, including the following:


                      Marjorie K. Lynch                           Thomas W. Waldrep, Jr.
                      434 Fayetteville St.                              Waldrep LLP
                          Suite 640                            101 S Stratford Road, Suite 210
                      Raleigh, NC 27601                          Winston-Salem, NC 27104
                  Bankruptcy Administrator                                Trustee




 Dated: November 4, 2019.
                                                 /s/ Rayford K. Adams III
                                               Rayford K. Adams III (NC Bar No. 8622)
                                               SPILMAN THOMAS & BATTLE, PLLC
                                               110 Oakwood Drive, Suite 500
                                               Winston-Salem, North Carolina 27103
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                                                               Supplement to Exhibit B
6/3/2019    Postage                                                                                                                            $6.00
6/4/2019    Postage                                                                                                                            $1.00
6/4/2019    Pacer Service Center - Court documents                                                                                             $1.50
6/5/2019    Postage                                                                                                                            $1.50
6/5/2019    Postage                                                                                                                         $517.50
6/5/2019    Postage                                                                                                                            $0.50
6/5/2019    Postage                                                                                                                            $3.00
6/5/2019    Postage                                                                                                                            $1.00
6/5/2019    Postage                                                                                                                            $4.00
6/5/2019    Pacer Service Center - Court documents                                                                                             $0.80
6/5/2019    Document Reproduction                                                                                                              $7.50
6/5/2019    Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for adding creditors                                                      $31.00
6/5/2019    Branch Banking & Trust - STB Visa - BK Attorney Services; filing fee for adding creditors                                       $104.80
6/7/2019    Pacer Service Center - Court documents                                                                                             $0.80
6/11/2019   Pacer Service Center - Court documents                                                                                             $1.70
6/14/2019   Pacer Service Center - Court documents                                                                                            $13.30
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $31.00
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $31.00
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $31.00
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $31.00
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $31.00
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $31.00
6/14/2019   Branch Banking & Trust - STB Visa - USBC-NC; Filing fee for Amending Creditor List                                                $23.00
6/17/2019   Pacer Service Center - Court documents                                                                                             $3.40
6/17/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; Washington County      $64.80
6/17/2019   Hospital
            Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; Oswego                 $56.80
6/17/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; I-70                   $65.60
6/17/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; Prague                 $58.40
6/17/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; Horton                 $67.20
6/17/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; Haskell                $59.20
6/17/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; Service of Bankruptcy Notice on added Creditors; Fairfax              $300.00
6/19/2019   Pacer Service Center - Court documents                                                                                             $4.60
6/25/2019   Pacer Service Center - Court documents                                                                                             $2.00
6/26/2019   Pacer Service Center - Court documents                                                                                             $2.10
6/26/2019   Pacer Service Center - Court documents                                                                                             $5.40
7/3/2019    Pacer Service Center - Court documents                                                                                             $3.60
7/9/2019    Pacer Service Center - Court documents                                                                                             $2.40
7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                                       $1,940.68
7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                                       $1,984.50
7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                                       $2,780.40
7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                                       $1,912.96
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7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                    $1,658.39
7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                    $1,686.63
7/15/2019   Branch Banking & Trust - STB Visa - BK Attorney Services; COS Washington                                    $1,795.36

                                                                                                                Total: $15,359.32

            Expenses Applicable to all CAH Hospitals (1/8th of total)                                                  $1,919.92
